         Case 3:10-cr-04247-BTM                        Document 220               Filed 08/31/11              PageID.684               FILED
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     '>.AD 2458    (Rev. 9/00) Judgment in a Crimina I Case
                   Sheet 1
                                                                                                                                        AUG_3.. 201~ ~
    --------------------------------------------==-------A~~M~hi~~~~o1NIA
                                                                     DEPUTY
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                          REX JAENA DIOSO [8]                                      Case Number: lOCR4247-008-BTM
                                                                                    JOHN COTSIRILOS
                                                                                   Defendant's Attorney
     REGISTRATION NO. 22918298

     D
     THE DEFENDANT:
     181 pleaded guilty to count(s)_1_0_F_T_H_E_IN_D_IC_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D    wasfuundg~l~oncoun~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
          after a plea of not gUilty.
          Accordingly. the defendant is adjudged guilty of such count(s). which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature ofOtTense                                                                               Number(s)
21 USC 841 (a)(l), 846,               CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE




        The defendant is sentenced as provided in pages 2 through ~~...:.4~~of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The detendant has been found not guilty on count(s)      ~~~~~~~~~~~~~~~~~~~~~~~~~~---




 D Count(s)                                                                            DareD dismissed on the motion ofthe United States.
  181 Assessment:$l 00.00 at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program.


  181 Fine waived                                  D    Forfeiture pursuant to order filed
                                                                                                ~~~~~~-----
                                                                                                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall notify the eourt and United States attorney of any material change in the defendant's economic circumstances.

                                                                               AUGUST 26,2011




                                                                                                                                         lOCR4247-008-BTM
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AO 2458     (Rev. 9100) Judgment in Criminal Case
            Sheet 2    Imprisonment

                                                                                               Judgment   Page _ _
                                                                                                                 2_    of        4
DEFENDANT: REX JAENA 0I0S0 [8]
CASE NUMBER: lOCR4247-008-BTM
                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States aureau of Prisons to be imprisoned for a term of
          FORTY (40) MONTHS.



   o Sentence imposed pursuant to Title 8 USC Section 1326(b).
   181 The court makes the following recommendations to the Bureau of Prisons:
          That the defendant participate in the RDAP program. That the defendant serve his sentence at an institution in California or
          Arizona.



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.     0 p.m.        on
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 _______________________________________________________________________
           o as notified by the United States Marshal.
           o    as notitled by the Probation or Pretrial Services Office.


                                                                 RETURN

I have executed this judgment as follows:

          Defendant delivered on                                                    to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                       By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                 lOCR4247-008-BTM
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AO 2450       (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Releao;c
                                                                                                           Judgment-Page   ~           of _ _4:.-.._ _
DEFENDANT: REX JAENA 0I0S0 [8]                                                                     II
CASE NUMBER: IOCR4247-008-BTM
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal. state or local crime.
For offenses committed on or aJier September 13. 1994:
Thc defendant shal1 not illegally possess a controlled substance. The defendant shat! refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

       The defendant shal1 not possess a firearm, ammunition. destructive device. or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backing Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defenda nt shat! register with the state sex offender registration agency in the state where the defendant resides. works.
       or is a student, as directed by the probation officer. (Check. if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such finc
or rcstitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                         STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and fol low the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling, training. or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony. unless granted permission to do so by the probation officer;
 10)    thc defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristies and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification req uirement.
                                                                                                                             lOCR4247-008-BTM
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        110 245B    (Rev. 9/00) Judgment in a Criminal Case
                    Sheet 4    Special Conditions
                                                                                                        Judgment-Page   ~             4 __
                                                                                                                                of ____
        DEFENDANT: REX JAENA DIOSO [8]                                                             a
        CASE NUMBER: lOCR4247-008-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
   reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
   search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
   this condition.

D
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
181 Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.


D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
D Complete          hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.

D If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                               lOCR4247-008-BTM
